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New Developments in Asbestos Property Damage Cost Recovery for
Canadian Property Owners

Over the past 15 years property owners in the United States have been very successful in
Tecovering the cost of asbestos removal or abatement programs from the manufacturers of
the friable sprayed asbestos products installed in their buildings. These judgments have
included many millions of dollars.in damages plus, in some-cases, punitive awards if the
manufacturers of the products knew of ihe inherent risk of these products when they were
being installed. For Canadian owners it is interesting to note that some of these friable

sprayed products were still being installed in Canadian buildings after they had been
withdrawn from the’U.S, Market for these health reasons.

Although no Canadian Property owners have ever successfully sued U.S. asbestos
manufacturers (some cases in British Columbia were settled out-of-court for exceptional
reasons), there is a current window of opportunity, which may allow many Canadian
‘owners fo recover 2 substantial amount of the money spent or to be spent on asbestos
abatement, The details are provided below.

Why have Canadian Building Owners .not been in a position to recover such costs in
the past?

There are many reasons for this. Firstly there are significant differences in the liability
laws between Canada and the U.S. Such theories as “strict Hability” for a defective
product and suits for pure economic loss are viable in the U.S. Courts but much less
likely to succeed in Canada. The U.S. cases have historically taken many, many years to
setile or come to court and the costs have been so great that the only effective way for
building owners to succeed was by engaging specialty lawyers on contingency — a much
less common practice.in Canada, The only case tried in Canada (commonly referred to as
the Privest Case) also brought into question the Statute of Limitations for such suits in
Canada.

For all these reasons, particularly the doubtful outcome and costs involved, the extensive
time such litigation takes and Canadians’ historic reluctance to use the courts, Canadian
Property Damage cases have-never been widely considered,

How bas this situation changed at this time?

Recently several of the major manufacturers of sprayed fireproofing and acoustic finishes
(in particular W.R. Grace, Federal Mogul and U.S. Mineral) have either been forced into
bankruptcy protection or voluntarily entered Bankruptcy Court in order to settle forever
all potential liability arising from their manufacture, use or installation of asbestos
products. These filings require these companies to notify ; and seek settlements not only
-within the United States but worldwide. Canada is in fact specifically named as eligible
in some of the filings. It is likely that the standard of proof and even the applicable
jurisdiction may have changed as a result.of these companies now being in bankruptcy
negotiation. It shouldbe noted that these companies (at least Federal Mogul and W.R.

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Grace) are not bankrupt and in fact are.quite solvent and will continue operating. The
bankruptcy is, however their method of avoiding the increasing number of frivolous
claims from unimpaired plaintiffs (plaintiffs with no bodily injury) who are suing based
om any exposure to their product whatsoever. Due to their financial situation U.S,
Mineral is unlikely to have much available money and is of marginal interest in the cost
recovery litigation.

How would the system work and what are possible time frames?

Based on the prior asbestos-related bankruptcies of National Gypsum and Celotex
Corporation it is possible to.make some predictions (although of course each case is
different). Typically the Bankruptcy resolution will require negotiation between the
Defendant and the various groups of creditors. These creditors fall into four main
categories:

Trade Creditors

Impaired Personal Injury Plaintiffs (with actual asbestos disease)

Property Damage Plaintiffs

Unimpaired Personal Injury Plaintiffs
In the case of W.R. Grace there may be a fifth group of claimants related to the use of
Zonolite Attic Insulation. Once the amount of money available from the Defendants is
determined by negotiation, then these groups.of creditors negotiate a division of the
available funds. In the case of W.R. Grace and Federal Mogul most of their assets will
become property of the creditors but the companies will remain operational and free of
liabilities as long as the settlement agreement is acceptable to 75% of the plaintiffs in
each plaintiff group.

These negotiations may take from one year up to five years to complete based on the
experience to date in previous asbestos bankruptcies, Once the bankruptcy proceedings
are complete, payment of creditors may take an additional two years or more depending
on the complexity of the cases and the proof of claims required,

How can Canadian Property Owners take part in the process?

Since W.R. Grace and Federal Mogul have allocated money to this settlement the
division of the money between the four creditor groups becomes the most difficult part of
the settlement. The Pinchin Group of Companies have arranged with the pre-eminent
US. Property Damage Lawyer, Dan Speights of Speights and Runyan to represent our
Canadian clients in the initial filings, bankruptcy hearings and settlement negotiations.
Although the subject companies have advertised the settlements nationally and in theory
a Canadian owner or their lawyer could independently file, we believe the cost involved
will be significant and the potential for success for a Canadian property owner
proceeding independently is very low. Basically both Pinchin and Speights and Runyan
will proceed on.a contingency basis for any of our Canadian clients. ‘Therefore with the
possible exception of more conclusive analytical work, a Canadian property owner can
pursue-the course with the greatest potential for success at no cost other than a small
amount of time spent in collecting datdin your buildings.
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What are the potential up-sides?

Once again this answer will depend on the amount of money made available to the
Property Damage group but, based on prior settlements, the amount paid nay be up to
50% of the pure removal or abatement cost. (excluding costs related to refit of the
building, loss of lease income, etc.) As noted above, you should be aware that payment
of successful-claims could take-years, however, on this contingency basis, there will be
no need for you or your representative to appear.in court or any costs of further
Tepresentation,

Who is Dan Speights and why does this route have the greatest chance of success?

Dan Speights has been involved in Property Damage (PD) Litigation over asbestos since
1982. His prime concems and successes have been related to sprayed fireproofing and
acoustic finishes (collectively referred to in the U.S. as Surface Treatments). He obtained
the first settlements on behalf of schools from Surface Treatment Manufacturers in 1984,
He was the lead attomey in the first successful PD litigation in 1986. He, along with
Alan Runyan, has spent more than 10,000 hours in compiling documents and depositions
related to Surface Treatment Manufacturing in peneral and W.R. Grace in particular. His
firm has had a long string of successful individual cases against the Surface Defendants.
OF particular value to our Canadian clients is the fact that Speights and Runyan filed a
class action in 1992 in South Carolina for alt commercial building owners (including
Canadian owners) which will preserve your fights in the US Bankruptcy proceedings.

Of particular importance at this time is Mr, Speights’ role in the current bankruptcies, He
is co-chair of the PD Committee in the Grace Bankruptcy, he is one of two PD
representatives in the joint asbestos committee in U.S, Mineral Bankruptcy and he is one
of only two lawyers active in Federal Mogul. As a result of this daily involvement in the
bankruptcies our clients wifl have a representative who is present at the negotiating table
at all times, This, in our opinion, is the best and possibly the only way, fora Canadian
property owner to be successful. More details on the quslifications and successes of Dan
Speights and Speights and Runyon can. be found at www.speightsrunyan.com.

How doi proceed?

Tt isnecessary for a Pinchin representative to work with your staff to complete the forms
in. a manner that is agceptable to the U.S. Courts. We will have the best guidance and
advice from Dan Speights in this matter. It is very important to realize that not alll friable
asbestos is included or covered by these bankruptcies, as this applies only to the products
of Grace, Federal Mogul and to a lesser extent (due to the limited money available), U.S.
Mineral. Pinchin’s staff will be able to assist in this product identification (we are 3
familiar with the products in many buildings) and ensure that all appropriate materials are B
included, You should be prepared to collect and copy asbestos surveys and analysis
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reports, You may have to commit somie time to outline the asbestos removal history and
in assisting our staff in collecting further samples for product identification. The time
commitment per building on your part will likely be.several hours depending on the
complexity of the building. At some later time (once the barikruptcy has been setiled but
prior to disbursement of funds) some additional testing of material from your building
may be necessary for verification of the manufacturer.

Are there any other important facts related to the claim?

First of all this is the very Inst opportunity for Canadian Property owners will ever have

to file a claim for damage. The time lines are very tight. ‘The claim must be filed by

dates ranging from February 20, 2003 to March 31, 2003. With the time needed to
complete the forms, time is absolutely critical. Although it will take years for these issues
to be resolved, there is no other more expedient way to proceed,

These eases will only be taken on a contingency bases. This is primarily due to US
practices in this litigation and to compensate for the time spent to date by Speights and
Runyon io reach this position, It will be necessary for you to sign very simple
contingency agreements for the -work to be performed by Pinchin and Speights and
Runyon.

The settlement (if successful) will apply equally to money already spent on asbestos
temoval and the future likely cost of asbestos removal. While it may be necessary at
some later time-to prove actual costs of removal, it may be possible to utilize a settlement
negotiation to arrive at an average cost.

In-order to proceed or to discuss the issue please contact the following as soon as possible

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t & National Portfolios | Robin-Conne

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